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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(SOUTHERN DIVISION)

DESMOND NDAMBI,
7717 Riverdale Rd.
New Carrollton, MD 20784
Prince George’s County,

MBAH EMMANUEL ABI,
1431 Troon Ave.
Brunswick, OH 44212,

and my

Civil Action No.

NKEMTOH MOSES AWOMBANG,
3505 W. 105 St. Apt. 303
Cleveland, OH 44111,

Individually and on behalf of all others

similarly situated,
Plaintiffs,

Vv.

CORECIVIC, INC.,
2405 York Road, Suite 201
Lutherville Timonium, MD 21093-2264
Baltimore County,
Defendant.

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CLASS ACTION COMPLAINT
1, Plaintiffs Desmond Ndambi, Mbah Emmanuel Abi, and Nkemtoh Moses
Awombang (collectively, “Plaintiffs”) individually and on behalf of all others similarly situated,
by and through their undersigned attorneys, bring this action against Defendant CoreCivic, Inc.
(“Defendant” or “CoreCivic”) for failing to pay immigrants confined in civil detention at the
Cibola County Correctional Center (“Cibola”) their legally mandated wages as required by the

Fair Labor Standards Act (“FLSA”) and the New Mexico Minimum Wage Act (“NMMWA”).
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Plaintiffs also bring this action, individually and on behalf of all others similarly situated, against
CoreCivic for unjust enrichment under New Mexico common law because it failed to pay
Plaintiffs a fair and adequate wage, yet it received the value of their labor and retained the
difference between the inadequate pay and the prevailing wage in Cibola County.

2. CoreCivic is among the oldest and largest for-profit corrections corporations in
the United States. In 2017, CoreCivic reported $1.84 billion in revenue, with 48% from
contracts with federal government agencies. CoreCivic owns and operates Cibola, a prison
complex that has faced several recent scandals for mistreatment and inadequate care of prisoners
and civilly detained immigrants. CoreCivic profits from its operation of Cibola by relying
heavily on a captive workforce of civilly detained immigrants, including Plaintiffs, to perform
labor necessary to keep Cibola operational and provide the services it is obligated to provide
under the terms of its contract with Cibola County, New Mexico. The work includes tasks such
as preparing and serving meals, cleaning the facilities, performing other janitorial tasks,
performing laundry services, and operating the library and the barber shop. CoreCivic
sometimes hires non-detainees who live in the surrounding community to perform the same
work. If Plaintiffs did not perform this work, CoreCivic would have to hire more people from
the surrounding community to keep Cibola operational and pay those additional workers the
legally mandated wages, which would be substantially higher than the wages actually paid to

Plaintiffs.

3. Despite the importance and necessity of Plaintiffs’ work to CoreCivic’s business,
CoreCivic has always paid them less than the legally required wage for their work, and
sometimes as little as one dollar per day. CoreCivic has contracted with Cibola County to

operate a detention facility that holds civilly detained immigrants and to pay workers the
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prevailing wage in the community to operate the facility. By suffering or permitting Plaintiffs to
perform work at its facility and for its benefit while paying Plaintiffs well below the minimum
wage and the prevailing wage in Cibola County, CoreCivic violates its service contract with the
County and suppresses wages in the local labor market. CoreCivic’s labor practices at Cibola
render the company liable under the Fair Labor Standards Act, the New Mexico Minimum Wage
Act, and the common law doctrine of unjust enrichment.

JURISDICTION AND VENUE

4. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because
this action arises under the Fair Labor Standards Act of 1938, 29 U.S.C. § 201, ef seq.

3 Independently, the Court has original jurisdiction pursuant to the Class Action
Fairness Act of 2005 (““CAFA”), 28 U.S.C. § 1332(d), because at least one class member is of
diverse citizenship from Defendant CoreCivic, there are more than 100 class members, and the
aggregate amount in controversy exceeds $5,000,000.

6. Additionally, the Court has supplemental jurisdiction pursuant to 28 U.S.C.

§ 1367 over Plaintiffs’ pendent state law claims under the New Mexico Minimum Wage Act and
unjust enrichment under New Mexico common law.

7. This Court has personal jurisdiction over Defendant pursuant to Md. Code Ann.

§ 6-102 because Defendant is organized under the laws of Maryland.

8. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) and Md. Code

Ann. § 6-102 because Defendant is organized under the laws of Maryland and therefore resides

in this District.
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PARTIES

Plaintiffs

9. Plaintiff Desmond Ndambi is an adult resident of New Carrollton, Maryland. Mr.
Ndambi has filed a consent to join this action. See Exh. 1.

10. Mr. Ndambi was an employee of CoreCivic, as that term is defined by the FLSA,
29 U.S.C. § 203(e)(1) and (g), and the NYMWA, NM Stat. Ann. § 50-4-21. Mr. Ndambi
worked for CoreCivic while detained at Cibola from approximately June to October 2017.

11. Plaintiff Mbah Emmanuel Abi is an adult resident of Brunswick, Ohio. Mr. Abi
has filed a consent to join this action. See Exh. 2.

12. Mr. Abi was an employee of CoreCivic, as that term is defined by the FLSA, 29
U.S.C. § 203(e)(1) and (g), and the NYUMWA, NM Stat. Ann. § 50-4-21. Mr. Abi worked for
CoreCivic while detained at Cibola from approximately June to November 2017.

13. Plaintiff Nkemtoh Moses Awombang is an adult resident of Cleveland, Ohio. Mr.
Awombang has filed a consent to join this action. See Exh. 3.

14. | Mr. Awombang was an employee of CoreCivic, as that term is defined by the
FLSA, 29 U.S.C. § 203(e)(1) and (g), and the NUMWA, NM Stat. Ann. § 50-4-21. Mr.
Awombang worked for CoreCivic while detained at Cibola from approximately June to
December 2017.
Defendant

15. | Defendant CoreCivic, Inc., (“CoreCivic” or Defendant”) formerly Corrections

Corporation of America,’ is a real estate investment trust. CoreCivic is organized under the laws

‘Tn late 2016, the company announced it was changing its name to CoreCivic from Corrections Corporation of
America. It did not otherwise change its legal identity. As a result, this complaint uses the names CoreCivic and
Corrections Corporation of America interchangeably.

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of Maryland with its principal place of business at 10 Burton Hills Boulevard, Nashville,
Tennessee 37215. CoreCivic has a registered agent, The Corporation Trust, Inc., located at 2405
York Road, Suite 201 Lutherville Timonium, Maryland 21093.

16. Atall relevant times, CoreCivic owned and operated the Cibola County
Correctional Center (“Cibola”) located at 2000 Cibola Loop, Milan, NM 87021, pursuant to the
purported authority of a private service contract with Cibola County, New Mexico.

17. At all relevant times, Cibola County, New Mexico maintained an
Intergovernmental Service Agreement (“IGSA”) with U.S. Immigration and Customs
Enforcement (“ICE”) to detain immigrants on behalf of ICE.

FACTUAL ALLEGATIONS RELATED TO ALL CLAIMS

18. CoreCivic is the second-largest private prison and detention corporation in the
United States, with a market capitalization of nearly $3 billion. It recently estimated that it owns
58% of all prison beds and manages 41% of all private prison beds in the United States.
CoreCivic’s contracts with ICE to civilly detain immigrants with pending removal proceedings
currently account for at least 30% of its annual revenues.

19. CoreCivic owns and operates Cibola, which is a civil immigration detention
center and prison complex. In 2016, Cibola County entered into an IGSA with ICE to maintain
custody of civilly detained immigrants. Cibola County, in turn, entered into a service contract
with CoreCivic in which CoreCivic agreed to serve as Cibola’s independent contractor for the
care and safety of civilly detained immigrants and to operate Cibola in compliance with the
terms of the IGSA between ICE and Cibola County.

20. As an independent contractor and service provider to Cibola County, CoreCivic

drafted and supplied Cibola’s staffing plan in response to a Performance Work Statement issued
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by ICE. CoreCivic determined the number, tasks, and pay rate of detained immigrants who
would perform work.

21. — Civilly detained immigrants are individuals held in civil detention while their
immigration cases are processed. Such individuals are “administrative detainees,” as they have
not been charged with any criminal violation. The purpose of their detention is to ensure their
presence during the administrative process and, if necessary, to ensure their availability for
removal from the United States. While some civilly detained immigrants are removed from the
United States after their detention, many such individuals are released from detention with
permission to reside and work in the United States legally. Civil immigration detention is not
punitive or corrective, it does not reflect a determination that detained immigrants have violated
any laws of the United States, and it does not determine the outcome of their immigration cases.
By law, civil detainees are the sole owners of the labor they provide.

22. Plaintiffs and those similarly situated are civilly detained immigrants previously
or currently detained at Cibola.

23. Under the IGSA, Cibola County agreed to provide or procure services necessary
to civilly detain immigrants. The ISGA incorporates into its terms the Service Contract Act, 41
U.S.C. § 351 et seq., thereby requiring, inter alia, that any employees providing services under
the contract must be paid the prevailing wages and benefits in the locality where they are
providing such services. The IGSA requires Cibola County to provide or procure all services at
Cibola in compliance with “all applicable federal, state, and local laws and standards.” Ifa
conflict exists between any of these laws, regulations, or standards, the IGSA provides that “the

most stringent standard shall apply.”
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24. _CoreCivic contracted with Cibola County to provide services necessary to civilly
detain immigrants in compliance with the terms of the IGSA, and to hire and pay workers the
prevailing wage in the community and in compliance with the state and federal minimum wage
requirements. In contrast to its contract, CoreCivic has failed to provide the civilly detained
immigrants with basic necessities. CoreCivic does not have the discretion to employ civilly
detained immigrants to perform services necessary to operate Cibola and to pay them an amount
less than the legally required wage for their work, which is sometimes as little as one dollar per
day.

25. Cibola has the capacity to hold up to 1,116 civilly detained immigrants per day.
The number of such immigrants in custody at Cibola at any given time from January 2017 to the
present exceeded 100 persons and, at times, has exceeded 800 persons.

26. | CoreCivic operates and maintains a work program at Cibola, pursuant to which it
has suffered or permitted Plaintiffs and those similarly situated to perform work that benefits
CoreCivic. Such work provides services necessary to keep Cibola operational, including
preparing and serving meals, cleaning the facilities and performing other janitorial tasks,
performing laundry services, and operating the library and the barber shop. These services
benefit CoreCivic because they are integral to Cibola’s operation and the company’s profitable
performance of its service contract with Cibola County. They are, therefore, essential to
CoreCivic’s fulfilment of its obligations under its contract with Cibola County.

27. Plaintiffs and those similarly situated were CoreCivic employees under the FLSA
and the NUMWA. CoreCivic supplied daily supervision over civilly detained immigrants who

participated in the work program, including, but not limited to, creating and continuously
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revising a facility staffing plan that accounts for the positions, hours, and pay of all detained
immigrants who participate.

28. CoreCivic paid the Plaintiffs and those similarly situated at a rate of pay that was
less than the legally required wage and sometimes as little as one dollar per day. On some
occasions, Plaintiffs and those similarly situated were not paid at all for their work. In all cases,
Plaintiffs and those similarly situated were paid less than the minimum wage required by the
FLSA and NMMWA and less than the prevailing wage for Cibola County.

29) In violation of the provisions of the IGSA, CoreCivic has failed to follow federal
and state laws when compensating civilly detained immigrants for work they perform.

30. CoreCivic has failed to provide Plaintiffs and those similarly situated with
adequate facilities and basic necessities, despite its use of their labor to maintain and operate
Cibola. For example, CoreCivic often served insufficient amounts of food, at unsafe
temperatures, and/or without hygienic food-handling safeguards. CoreCivic also failed to
provide adequate access to telephones and legal materials.

31. Plaintiffs and those similarly situated used their wages to purchase items, such as
phone calls, food, and toiletries, that met their basic needs. CoreCivic deducted the expense of
such items from the accounts of Plaintiffs and those similarly situated.

52s CoreCivic failed to operate Cibola in compliance with the relevant contractual
requirements. For instance, a January 2018 inspection by ICE’s Office of Detention Oversight

found the facility to be deficient in no fewer than 31 contractually imposed standards.
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Plaintiff Desmond Ndambi

33. Mr. Ndambi was detained at Cibola from approximately June 22, 2017, to
approximately October 1, 2017. He remained in civil immigration detention at Cibola while his
immigration case was processed.

34. Shortly after arriving at Cibola, Mr. Ndambi began working as a janitor at the
facility. He worked in this capacity for approximately one to three hours per day, seven days per
week. CoreCivic knew that Mr. Ndambi was performing this work and permitted him to do so.
Guards, who were CoreCivic employees, supervised his work, and CoreCivic provided the
cleaning supplies and tools necessary for Mr. Ndambi to perform the work. CoreCivic benefitted
from Mr. Ndambi’s cleaning work because it was necessary to maintain the facility at a profit.
CoreCivic paid Mr. Ndambi only one dollar per day for his cleaning work.

35. Around late July 2017, Mr. Ndambi was selected to work in Cibola’s library.

36. For the last approximately two months of his detention, Mr. Ndambi worked in
the library approximately eight hours per day, five days per week. CoreCivic controlled Mr.
Ndambi’s work hours through its staffing plan.

37. | CoreCivic knew of Mr. Ndambi’s library work and permitted it. A CoreCivic
employee told him when to work and escorted him to and from his shift at the library. Another
employee who lived in the community and was not confined in Cibola supervised Mr. Ndambi’s
work, assigned him tasks, and worked alongside him. Guards, who were CoreCivic employees,
also supervised Mr. Ndambi’s work. CoreCivic provided the library facility and tools necessary
for Mr. Ndambi to perform the work.

38. CoreCivic usually paid Mr. Ndambi one dollar per day for his work in the library,

without regard to the number of hours worked. Thus, for the approximately 40 hours per week
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he worked in the library, CoreCivic paid Mr. Ndambi $0.125 per hour. On several occasions,
however, CoreCivic failed to pay him at all for his work.

39. Mr. Ndambi’s janitorial and library work benefitted CoreCivic by allowing it to
conform to its service contract at the Cibola facility. Because it employed Mr. Ndambi,
CoreCivic did not need to employ someone else (who would have been paid at rates compliant
with the FLSA, the NMMWA, and the Service Contract Act) to perform the tasks that Mr.
Ndambi performed.

40. Mr. Ndambi used his wages to purchase basic necessities while in detention.
CoreCivic deducted the cost of such necessities from Mr. Ndambi’s account. When he was
released, CoreCivic paid Mr. Ndambi the funds remaining in his account.

Plaintiff Mbah Emmanuel Abi

41. Mr. Abi was detained at Cibola beginning approximately June 24, 2017, to
approximately November 22, 2017. He remained in civil immigration detention at Cibola while
his immigration case was processed.

42. Mr. Abi began working as a janitor at Cibola beginning in July 2017. He
performed tasks such as cleaning the floors and toilets at the facility. Mr. Abi worked in the
position approximately two hours per day, seven days per week. CoreCivic knew of Mr. Abi’s
work as a janitor and permitted it. He filled out a time sheet provided by CoreCivic that
indicated how many hours he worked. Guards, who were CoreCivic employees, supervised his
work, and CoreCivic provided the cleaning supplies and tools necessary for Mr. Abi to perform
his work. Mr. Abi performed work that benefitted CoreCivic because it was necessary to
maintain the facility at a profit. CoreCivic paid Mr. Abi one dollar per day for his janitorial

work.

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43. In August 2017, Mr. Abi filled out an application to begin working in the kitchen
at Cibola. CoreCivic hired him and, through its staffing plan, assigned him to work at least six
hours per day, at least five days per week. Mr. Abi signed a time sheet indicating how many

hours he worked.

44. Mr. Abi prepared and served meals to civilly detained immigrants like himself
and CoreCivic employees.

45. — CoreCivic knew of Mr. Abi’s work in the kitchen and permitted it. Guards, who
were CoreCivic employees, supervised Mr. Abi’s work. Further, CoreCivic provided the tools
and facilities necessary for Mr. Abi to perform his work.

46. Mr. Abi’s work benefitted CoreCivic because it was necessary to keep the facility
operational and profitable, as CoreCivic did not employ or subcontract enough people who were
not detained to run the kitchen without them. Because it employed Mr. Abi, CoreCivic did not
need to employ someone else (who would have been paid at rates compliant with the FLSA, the
NMMWA, and the Service Contract Act) to perform the tasks that Mr. Abi performed.

47. CoreCivic paid Mr. Abi $15 per week for working in the kitchen, without regard
to the number of hours worked. Because he worked at least six hours per day, at least five days
per week, CoreCivic paid Mr. Abi $0.50 or less per hour.

48. Mr. Abi used his wages to purchase basic necessities while in detention.
CoreCivic deducted the cost of such necessities from Mr. Abi’s account. When he was released,

CoreCivic paid Mr. Abi funds remaining in his account.
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Plaintiff Nkemtoh Moses Awombang

49, Mr. Awombang was detained at Cibola beginning approximately June 20, 2017,
until approximately December 20, 2017. He remained in civil immigration detention at Cibola
while his immigration case was processed.

50. Shortly after arriving at Cibola, Mr. Awombang began working as a janitor at the
facility. In this position, Mr. Awombang worked approximately seven days per week, several
hours per day. CoreCivic knew that Mr. Awombang was performing this work and permitted
him to do so. Guards, who were CoreCivic employees, supervised his work, and CoreCivic
provided the cleaning supplies and tools necessary to perform the work. CoreCivic benefitted
from Mr. Awombang’s cleaning work because it was necessary to maintain the facility at a
profit. CoreCivic paid Mr. Awombang only one dollar per day for his cleaning work.

51. | After approximately two months, Mr. Awombang began working in the kitchen,
where he worked approximately five and a half to six hours per day, five days per week.
CoreCivic controlled Mr. Awombang’s work hours through its staffing plan. Mr. Awombang
worked alongside people who were not detained. He worked in this position for approximately
four months.

52. CoreCivic knew that Mr. Awombang worked in the kitchen and permitted him to
do so. Guards, who were CoreCivic employees, supervised Mr. Awombang’s work. Further,
CoreCivic provided the facilities and tools necessary for Mr. Awombang to perform his work.
CoreCivic benefitted from Mr. Awombang’s kitchen work because it was necessary to keep the
facility operational at a profit, as CoreCivic did not employ or subcontract enough people who
were not detained to run the kitchen without them. Because it employed Mr. Awombang,

CoreCivic did not need to employ someone else (who would have been paid at rates compliant
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with the FLSA, the NMMWA, and the Service Contract Act) to perform the tasks that Mr.
Awombang performed.

53. | CoreCivic paid Mr. Awombang $15 per week without regard to the number of
hours he worked.

54. Mr. Awombang used his wages to purchase basic necessities while in detention.
CoreCivic deducted the cost of such necessities from Mr. Awombang’s account. When he was

released, CoreCivic paid Mr. Awombang funds remaining in his account.

FLSA COLLECTIVE ACTION ALLEGATIONS

55.  CoreCivic failed to pay the Plaintiffs and all others similarly situated the
minimum wages required by the FLSA, 29 U.S.C. §§ 201, ef seq.

56. CoreCivic failed to pay the Plaintiffs and all others similarly situated for all hours
worked and failed to pay an effective hourly rate at or above the federal minimum wage rate of
$7.25 per hour through its practices of paying a flat rate that was less than the legally required
wage for their work, and sometimes as little as one dollar per day.

57. This action can, and should, be maintained as a collective action pursuant to 29
U.S.C. § 216(b) for all claims to unpaid or underpaid wages and liquidated damages that can be
redressed under the FLSA.

58. Plaintiffs seek certification of these claims as a collective action on behalf of all
civilly detained immigrants who performed work for CoreCivic at Cibola through its work
program at any time during the period beginning two years prior to the date on which this action
is filed and continuing to the date on which notice is issued of the opportunity to join this action.

59. Plaintiffs reserve the right to revise the definition of the class based upon

information learned after the filing of this action.

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60. Upon information and belief, there are hundreds of similarly situated current and
former civilly detained immigrants at Cibola who have been subjected to the same unlawful
conduct that the Plaintiffs challenge herein.

61. | Members of the proposed collective action are similarly situated. CoreCivic
civilly detained such members in the same facility, Cibola. CoreCivic permitted such members
to work, and such members did work, for the benefit of CoreCivic but were compensated at rates
below the FLSA-mandated minimum wage.

62. Members of the proposed collective action have been subjected to the same or
substantially the same pay policies and practices.

63. | Members of the proposed collective action have been subjected to the same or
substantially the same policy or practice that required or permitted them to perform work for
CoreCivic’s benefit, but compensated them at rates below the FLSA-mandated minimum wage.

64. The identities of the members of the proposed collective action are known to
CoreCivic and can be located through CoreCivic’s records.

65. Members of the proposed collective action would benefit from the issuance of
Court-supervised Notice and the opportunity to join this lawsuit.

66. A collective action will provide the most efficient mechanism for adjudicating the
claims of Plaintiffs and members of the proposed collective action.

67. Therefore, Plaintiffs request that they be permitted to serve as representatives of
those who consent to participate in this action and that the action be granted collective action

status pursuant to 29 U.S.C. § 216(b).
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RULE 23 NEW MEXICO MINIMUM WAGE ACT CLASS ACTION ALLEGATIONS

68. Pursuant to Federal Rule of Civil Procedure 23, Plaintiffs bring class-action
claims for unpaid or underpaid wages under the NNMWA, NM Stat. Ann. §§ 50-4-21, ef seq.

69. Plaintiffs bring these class-action claims on behalf of themselves and all other
civilly detained immigrants who performed work for CoreCivic at Cibola in its work program at
any time from two years prior to the filing of this action through the date on which notice is
issued affording the right to opt out of any class certified pursuant to Rule 23(b)(3) (“New
Mexico Minimum Wage Act Class”).

70. Plaintiffs reserve the right to revise the definition of the class based upon
information learned after the filing of this action.

71. Plaintiffs bring these claims on behalf of themselves and members of the New
Mexico Minimum Wage Act Class under Federal Rules of Civil Procedure 23(a), (b)(2) for their
requests for declaratory and injunctive relief only, and (b)(3) for their requests for damages. The
proposed New Mexico Minimum Wage Act Class satisfies the numerosity, commonality,
typicality, adequacy, predominance, and superiority requirements of those rules.

72. Numerosity: The proposed class is so numerous that the joinder of all such
persons is impracticable, and the disposition of their claims as a class will benefit the parties and
the Court. The exact number of class members is unknown to Plaintiffs at this time, because it is
within CoreCivic’s control. However, upon information and belief, the class comprises hundreds
of members. Membership in the class is ascertainable from CoreCivic’s detention and
employment records.

73. | Commonality: Plaintiffs and all members of the New Mexico Minimum Wage

Act Class have been compensated using the unlawful practices alleged herein and, therefore, one
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or more questions of law or fact are common to the New Mexico Minimum Wage Act Class.
These common questions include, but are not limited to, the following:
a. Whether CoreCivic is an employer of Plaintiffs and members of the New Mexico
Minimum Wage Act Class within the meaning of the NYUMWA;
b. Whether Plaintiffs and members of the New Mexico Minimum Wage Act Class
are employees within the meaning of the NYUMWA;
c. Whether CoreCivic engaged, suffered, or permitted Plaintiffs and members of the
New Mexico Minimum Wage Act Class to work on its behalf;
d. Whether the minimum wage in the NUMWA applies to Plaintiffs and members
of the New Mexico Minimum Wage Act Class;
e. Whether CoreCivic failed or refused to pay Plaintiffs and members of the New
Mexico Minimum Wage Act Class the minimum wage required by the NUMWA;
74. Typicality: Plaintiffs and members of the New Mexico Minimum Wage Act
Class were subjected to the same unlawful policies, practices, and procedures and sustained
similar losses, injuries, and damages. All class members were subjected to the same
compensation practices by CoreCivic, as alleged herein, that required or permitted them to
perform work for CoreCivic’s benefit, but compensated them at rates below the NUMWA-
mandated minimum wage. Plaintiffs’ claims are therefore typical of the claims that could be
brought by any member of the New Mexico Minimum Wage Act Class, and the relief sought is
typical of the relief that could be sought by each member of the New Mexico Minimum Wage
Act Class in separate actions.
75. Adequacy of Representation: Plaintiffs are able to fairly and adequately protect

the interests of all members of the Class, as they are challenging the same practices as the class
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as a whole, and there are no known conflicts of interest between Plaintiffs and the members of
the New Mexico Minimum Wage Act Class. Plaintiffs have retained counsel who have
extensive experience with the prosecution of wage-and-hour claims and complex class-action
litigation.

76. Predominance and Superiority: The common questions identified above
predominate over any individual issues. A class action is superior to other available means for
the fair and efficient adjudication of this controversy.

77. Pursuit of this action as a class would provide the most efficient mechanism for
adjudicating the claims of Plaintiffs and the members of the New Mexico Minimum Wage Act
Class.

RULE 23 NEW MEXICO UNJUST ENRICHMENT CLASS ACTION ALLEGATIONS

78. Pursuant to Federal Rule of Civil Procedure 23, Plaintiffs bring class-action
claims for unjust enrichment under New Mexico common law.

79. Plaintiffs bring these class-action claims on behalf of themselves and all other
civilly detained immigrants who performed work for CoreCivic at Cibola in its work program
four years prior to the filing of this action through the date on which notice is issued affording
the right to opt out of any class certified pursuant to Rule 23(b)(3) (“Unjust Enrichment Class”).

80. Plaintiffs performed all work during the class period in the absence of an
enforceable employment contract with CoreCivic.

81. Plaintiffs reserve the right to revise the definition of the classes based upon
information learned after the filing of this action.

82. Plaintiffs bring these claims on behalf of themselves and members of the Unjust

Enrichment Class under Federal Rules of Civil Procedure 23(a), (b)(2) for their requests for

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declaratory and injunctive relief only, and (b)(3) for their requests for damages. The proposed
Unjust Enrichment Class satisfies the numerosity, commonality, typicality, adequacy,
predominance, and superiority requirements of those rules.

83. Numerosity: The proposed class is so numerous that the joinder of all such
persons is impracticable, and the disposition of their claims as a class will benefit the parties and
the Court. The exact number of class members is unknown to Plaintiffs at this time, because it is
within CoreCivic’s control. However, upon information and belief, the class comprises hundreds
of members. Membership in the class is ascertainable from CoreCivic’s detention and
employment records.

84. Commonality: Plaintiffs and all members of the Unjust Enrichment Class have
been compensated using the unlawful practices alleged herein and, therefore, one or more
questions of law or fact are common to the Unjust Enrichment Class. These common questions
include, but are not limited to, the following:

a. Whether CoreCivic knowingly benefitted from the labor of Plaintiffs and
members of the Unjust Enrichment Class;

b. Whether CoreCivic failed to pay fair and adequate compensation to Plaintiffs and
members of the Unjust Enrichment Class;

c. Whether it would be unjust for CoreCivic to retain the benefit from any failure to
pay fair and adequate compensation to Plaintiffs and members of the Unjust
Enrichment Class;

85. | Typicality: Plaintiffs and members of the Unjust Enrichment Class were
subjected to the same unlawful policies, practices, and procedures and sustained similar losses,

injuries, and damages. All class members were subjected to the same compensation practices by
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CoreCivic, as alleged herein, that required or permitted them to perform work for CoreCivic’s
benefit, but denied them fair and adequate compensation, including FLSA-mandated and
NMMWA-mandated minimum wages and the prevailing wage in Cibola’s locality. Plaintiffs’
claims are therefore typical of the claims that could be brought by any member of the Unjust
Enrichment Class, and the relief sought is typical of the relief that could be sought by each
member of the Unjust Enrichment Class in separate actions.

86. Adequacy of Representation: Plaintiffs are able to fairly and adequately protect
the interests of all members of the Unjust Enrichment Class, as they are challenging the same
practices as the class as a whole, and there are no known conflicts of interest between Plaintiffs
and the members of the Unjust Enrichment Class. Plaintiffs have retained counsel who have
extensive experience with the prosecution of wage-and-hour claims and complex class-action
litigation.

87. Predominance and Superiority: The common questions identified above
predominate over any individual issues. A class action is superior to other available means for
the fair and efficient adjudication of this controversy.

88. Pursuit of this action as a class would provide the most efficient mechanism for
adjudicating the claims of Plaintiffs and the members of the Unjust Enrichment Class.

CAUSES OF ACTION
COUNT I
FAIR LABOR STANDARDS ACT OF 1938
29 U.S.C. §§ 201, ef seq.

89. Plaintiffs reallege and incorporate by reference all previous allegations of the

complaint.

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CoreCivic, as alleged herein, that required or permitted them to perform work for CoreCivic’s
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CAUSES OF ACTION
COUNT I
FAIR LABOR STANDARDS ACT OF 1938
29 U.S.C. §§ 201, et seq.

89. Plaintiffs reallege and incorporate by reference all previous allegations of the

complaint.
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99. Defendant is an employer within the meaning of NM Stat. Ann. § 50-4-21.B;

100. Defendant has employed and continues to employ Plaintiffs and the proposed
class members by engaging, suffering, and/or permitting them to work on its behalf.

101. Plaintiffs and the proposed class members have performed and continue to
perform work necessary to keep the facility operational, including preparing and serving meals
and other tasks in the kitchen, cleaning the facilities and performing other janitorial tasks,
performing laundry services, and operating the library and the barber shop.

102. Since January 1, 2009, the New Mexico Minimum Wage Act has required an
employer to pay an employee a minimum wage rate of seven dollars and fifty cents ($7.50) per
hour. NM Stat. Ann. § 50-4-22.A.

103. Defendant has paid and continues to pay Plaintiffs and the proposed class
members less than the legally required wage for their work, and sometimes as little as one dollar
per day.

104. Defendant has violated and continues to violate NM Stat. Ann. § 50-4-22.A. by
paying Plaintiffs and the proposed class members less than $7.50 per hour.

COUNT III
UNJUST ENRICHMENT
New Mexico Common Law

105. Plaintiffs reallege and incorporate by reference all previous allegations of the
complaint.

106. Defendant has operated and continues to operate Cibola as a for-profit business.

107. Defendant has utilized and continues to utilize Plaintiffs’ and the proposed class

members’ labor to operate Cibola. Defendant has paid and continues to pay Plaintiffs and the

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proposed class members less than the prevailing wage in Cibola’s locality for their work, and
sometimes as little as one dollar per day.

108. Defendant has not paid, and continues not to pay, Plaintiffs and the proposed class
members adequate compensation for their work at Cibola.

109. Defendant has knowingly benefitted, and continues knowingly to benefit, at the
expense of Plaintiffs and the proposed class members, retaining the difference between the rate it
has paid, and continues to pay, Plaintiffs and the proposed class members and the fair and
adequate compensation that it should have paid, and should pay, Plaintiffs and the proposed class
members for their work at Cibola.

110. It is and would be unjust for defendant to retain the benefit gained from its
practice of failing to pay fair and adequate compensation to Plaintiffs and the proposed class
members for their work at Cibola.

PRAYER FOR RELIEF

Wherefore, plaintiffs pray that the Court:

A. Certify this case as a class action on behalf of the classes defined above;

B. Find that Plaintiffs are proper representatives of the Classes;

G. Appoint the undersigned as Class Counsel;

D. Order Defendant to pay for all necessary notices to the Classes;

E, Declare that plaintiffs and members of the Classes are employees within the

meaning of 29 U.S.C. § 203(e) and NM Stat. Ann. § 50-4-21.C;
F. Declare that Defendant is an employer within the meaning of 29 U.S.C. § 203(d)

and NM Stat. Ann. § 50-4-21.B.;

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G. Declare that Defendant has violated 29 U.S.C. § 206 and NM Stat. Ann. § 50-4-
22.A.;

H. Order Defendant to post at Cibola and at its principal place of business a notice
describing its violations of the New Mexico Minimum Wage Act pursuant to NM Stat.
Ann. § 50-4-25.F.;

I, Enjoin Defendant from paying civilly detained immigrants less than the minimum
wage required by 29 U.S.C. § 206 and NM Stat. Ann. § 50-4-22.A for work performed at
Cibola:

J. Award plaintiffs and members of the Classes their unpaid or underpaid wages and
an additional equal amount as liquidated damages pursuant to 29 U.S.C. § 216;

K. Award plaintiffs and members of the Classes their unpaid or underpaid wages
plus interest, and an additional amount equal to twice the unpaid or underpaid wages,
pursuant to the New Mexico Minimum Wage Act, NM Stat. Ann. § 50-4-26.C;

L. Award plaintiffs their reasonable attorneys’ fees and costs pursuant to 29 U.S.C.
§ 216 and NM Stat. Ann. § 50-4-26.E, or as otherwise authorized by law;

M. Declare that Defendant has been unjustly enriched by failing to adequately and
fairly pay plaintiffs and members of the Classes for their work at Cibola;

N. Award plaintiffs and members of the Classes their unpaid or underpaid wages for
their work at Cibola using the prevailing wage rates required by the contract between
CoreCivic and Cibola County for the work they performed;

O. Award plaintiffs and class members prejudgment interest pursuant to NM Stat.

Ann. § 56-8-3(B) or to the extent otherwise authorized by law;

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90. Plaintiffs and the proposed class members are employees within the meaning of
29 U.S.C. §§ 203(e)(1) and (g):

91. Defendant is an employer within the meaning of 29 U.S.C. § 203(d);

92. Defendant has employed and continues to employ Plaintiffs and the proposed
class members by engaging, suffering, and/or permitting them to work on its behalf.

93. Plaintiffs and the proposed class members have performed and continue to
perform work necessary to keep the facility operational, including preparing and serving meals,
cleaning the facilities and performing other janitorial tasks, performing laundry services, and
operating the library and the barber shop.

94. — Since July 24, 2009, the Fair Labor Standards Act has required an employer to
pay an employee a minimum wage rate of seven dollars and twenty-five cents ($7.25) per hour.
29 U.S.C. § 206.

95. Defendant has paid and continues to pay Plaintiffs and the proposed class
members less than the legally required wage for their work, and sometimes as little as one dollar
per day.

96. | Defendant has violated and continues to violate 29 U.S.C. § 206 by paying
Plaintiffs and the proposed class members less than $7.25 per hour.

COUNT II
NEW MEXICO MINIMUM WAGE ACT
NM Stat. Ann. §§ 5-4-19, et seq.

97. Plaintiffs reallege and incorporate by reference all previous allegations of the
complaint.
98. Plaintiffs and the proposed class members are employees within the meaning of

NM Stat. Ann. § 50-4-21.C.;

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P. Award plaintiffs and members of the Classes post-judgment interest to the extent

authorized by law; and

Q. Award plaintiffs and members of the Classes such additional relief as the interests
of justice may require.

DATED this 14th day of November, 2018.

Respectfully submitted,

/s/ Joseph M. Sellers

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